
ON REHEARING
BERANEK, Judge.
Appellant argues that the trial court erred by denying its motion to dissolve a writ of garnishment. We agree based on C &amp; S Plumbing, Inc. v. Live Supply, Inc., 397 So.2d 998 (Fla. 4th DCA 1981).
A stipulated judgment awarding W.W. Lumber $26,823.52 was filed on February 2, 1981. On February 5, 1981, W.W. Lumber filed a motion for writ of garnishment naming Mullins Lumber as garnishee. The writ was issued the same day and served on garnishee one day later. Appellant then filed a motion to dissolve the writ of garnishment as untimely filed and executed, which the trial court denied.
We reverse on the basis of our opinion in C &amp; S Plumbing, Inc., supra, wherein we stated, “The time for serving a motion for new trial or rehearing had not expired; therefore, the writ was issued prematurely.” Accordingly, the writ is dissolved and *1084the cause is remanded for action consistent herewith.
WRIT DISSOLVED AND CAUSE REMANDED.
DELL, J., concurs.
ANSTEAD, C.J., dissents with opinion.
